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Wasch ss Ritson LLC

A Pennsj)ivania LLC
Nancy L. Wasch, Esq. 749 Spring Valley Road
Mcmbcr of the PA Bar Doylestown, PA 18901
nwasch@waschritson.com (215) 340-1413
Daniel C. Ritson, Esq. One Third Avenue, Stc 1126
Member of the NJ and N'Y Bars Mineola._. NY [l50]

dritson@wasehritson.com (973} 650-6245

November 27, 2017

Via ECF

Hon. Robert W. Sweet, U.S.D.J.
United States District Coth
Southern Distn'ct of New York
40 Foley Square

New York, NY 10007

Re: Maikel 'I`. Shonouda v. Charles J. Nafie Architect DPC, et al.
Case No.: l:l7-cv-6098-RWS

Dear Judge Sweet:

We currently represent Defendants Charles J. Nafie Architect DPC and Charles J. Naiie
(together, “Defendants”). Wc write to seek the Court’s leave to file a motion to be relieved as
counsel, pursuant to Local Civil Rule 1.4. We seek such leave prior to formally moving, to
respectfully request the Court’s permission to file a hard copy of the affidavit in support of the
motion (as opposed to filing the same via ECF), for review by your Honor in camera

The bases for our proposed motion are an irreparable breakdown in the attorney-client
relationship and what appears to be the deliberate breach by Defendants of our agreement With
respect to fees. In that regard, we have reviewed Forrnal Opinion 476, Confzden!iali!y Issues When
Moving to Withdraw for Nonpayment of Fees in Civil Lftigation, dated Dccember 19, 2016, issued
by the Arnerican Bar Association’s Standing Cornmittee on Ethies and Professional
Responsibility. We noted the Standing Comrnittee’s citation to Comment [16] to ABA Model
Rule 1.6, the relevant portion of which is identical to language appearing in Comment [14] to New
York Rule of Professional Conduct l.6, and which provides:

In any case, a disclosure adverse to the client’s interest should be no
greater than the lawyer reasonably believes necessary to accomplish
the purpose. If the disclosure will be made in connection with a
judicial proceeding, the disclosure should be made in a manner that
limits access to the information to the tribunal or other persons
having a need to know it and appropriate protective orders or other

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arrangements should be sought by the lawyer to the fullest extent
practicable

ln light of the above, we in good faith submit that the extended facts supporting our motion
to be relieved as counsel should be reviewed in camera, as the disclosure of several of such facts
would be adverse to Defendants’ interests

Please note that Defendant Charles J. Nafle, Who also is the principal of the corporate
Defendant, has been copied on this correspondence We have transmitted a copy of this letter both
via email, by which we regularly have communicated with Mr. Nafie, and via mail. Please also
note that we provided Mr. Naiie with written notice, on both November 18, 2107 and November
26, 2017, of this application

Finally, for reference, please note that Defendants’ response to Plaintiii` Maikel T.
Shonouda’s Complaint currently is due to be filed by December 8, 2017. Despite repeated
requests, we have not received any documents or information from Defendants that would enable
us to adequately address the Complaint, nor to pursue resolution as I indicated we intended to do,
per my letter dated November 3, 2017 [DE ll].

Your Honor’s consideration of the above is greatly appreciated

Respectfully submitted,

 

 

 
       

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DANlEL C. RITSON

cc: Peter H. Cooper, Esq. (via ECF)
Charles J. Naiie (via entail and First Class Mail)

